                              ON THE MERITS                              (6 P.2d 1085)
Department 2.
Plaintiff brought this suit for divorce on the grounds of cruel and inhuman treatment. She alleges many specific acts of such treatment. She asked for the custody and control of four of the minor children and for support for herself and said minor children, attorneys' fees, and a one-third interest in the real estate owned by the defendant and described in the complaint.
The suit was filed in Multnomah county, March 13, 1929. There were a great many preliminary motions and demurrers. Sometime later plaintiff filed an amended complaint again alleging the marriage of the parties and that plaintiff was a resident of Multnomah county; described the lands and other property owned by defendant; and alleged specific acts of cruel and inhuman treatment which it is unnecessary to set out in detail here. Suffice to say that, if proven, these acts were sufficient upon which to base a decree. Thereafter defendant filed an answer which was in effect a general denial of the acts of cruel and inhuman treatment. *Page 416 
Upon hearing, the trial court made and entered a decree on February 14, 1931, granting plaintiff a divorce; awarding her the custody of four minor children, seventy-five dollars per month for support of said children; seven hundred and fifty dollars attorneys' fees; a one-third interest in the real property owned by the defendant; and her costs and disbursements.
Defendant appeals, assigning as errors:
The court erred in assuming jurisdiction to try this case and in failing to remand it to Washington county, Oregon, for trial.
The court erred in awarding respondent a decree herein because the same is not supported by the evidence and is contrary to the weight of evidence.
It appears that plaintiff and defendant made their home as husband and wife at Cornelius, in Washington county, up until March 1, 1929. At that time defendant's conduct became such towards plaintiff as to justify her in removing from their said home, at which time she took up her residence in Multnomah county.
"That in any suit for the dissolution of the marriage contract the same may be commenced and tried in any county in this state in which either party to the suit resides." Oregon Code 1930, 6-108.
The question of the residence was one of fact and the lower court determined the question, on good and sufficient evidence, in favor of the plaintiff, and his discretion in that matter should not be disturbed.
It would serve no useful purpose to quote the evidence on which the learned trial judge determined the suit in favor of the plaintiff.
During the time the case was pending in Multnomah county, defendant, as plaintiff, filed a suit *Page 417 
for divorce against plaintiff in the circuit court of Washington county, which suit was dismissed by reason of the pendency of the instant suit. In that suit, in his complaint, he made very grave and serious charges of misconduct against the plaintiff. These charges were brought to the attention of the court in the instant case by plaintiff's filing of a supplemental complaint. The making of such charges, if unfounded, of itself would be sufficient upon which to base a decree in plaintiff's favor. To defendant's credit be it said that in the answer to the present case he did not repeat said charges, which, if established, would have defeated plaintiff's cause of suit.
Appellant complains that there is insufficient corroboration of plaintiff's testimony. She is corroborated in some respects by her seventeen-year-old daughter; in some matters by witness Syverson; as well as by the surrounding circumstances. So long as the question of usage or perjury is not being proved, one witness, if entitled to full faith and credit, is sufficient: Oregon Code 1930, 9-902.
Appellant also complains that the court allowed plaintiff more attorney fees than she asked for in her complaint. The record shows that the prayer of the complaint was amended before trial. Respondent's counsel are requesting this court to make a further allowance of attorney fees. Without passing on the question of the jurisdiction of this court to make such allowance, the request will be denied.
The decree of the circuit court will be affirmed, respondent to recover her costs and disbursements.
BEAN, C.J., ROSSMAN and KELLY, JJ., concur. *Page 418 